         Case 3:19-cv-00575-VAB Document 251 Filed 07/01/24 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


VERONICA-MAY CLARK                            :       CIVIL NO. 3:19-CV-575-(VAB)
                                              :
V.                                            :
                                              :
QUIROS, ET AL.                                :       JULY 1, 2024

     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO EXCLUDE THE
                TESTIMONY OF DR. STEPHEN LEVINE, MD

       Plaintiff moves in limine to preclude the testimony of Defendant’s expert, Dr. Stephen

Levine, MD pursuant to Federal Rules of Evidence 702 and 403. Plaintiff complains that Dr.

Levine’s testimony is irrelevant to “the issue currently before the Court: the question of

injunctive relief” and that his “opinions about the efficacy of gender-affirming treatment are

considerably outside the mainstream and unreliable.” (Doc. #244 at 3, 4.) Plaintiff’s argument

suffers from three primary flaws.

       First, Plaintiff appears to repeat the incorrect assertion that the upcoming bench trial is

only about what injunctive relief should be issued. Plaintiff is incorrect. As Defendant has

repeatedly pointed out, if there is no ongoing and current violation, the Eleventh Amendment

bars any relief, including injunctive relief. See Papasan v. Allain, 478 U.S. 265, 277-78 (1986)

(“[T]o successfully avoid the Eleventh Amendment bar, a plaintiff must prove that a defendant’s

violation of federal law is of an ongoing nature as opposed to a case in which federal law has

been violated at one time or another over a period of time in the past.”). Whether or not gender

affirming surgery is even efficacious to relieve gender dysphoria is certainly relevant to whether

Defendant is currently being deliberately indifferent to Plaintiff’s mental health condition

because the DOC has been, to date, incapable of providing bottom surgery.
         Case 3:19-cv-00575-VAB Document 251 Filed 07/01/24 Page 2 of 4




       Second, Plaintiff’s argument that Dr. Levine’s opinions and testimony are “unreliable” is

based on a number of cherry-picked cases where a few district court judges simply disagreed

with Dr. Levine’s testimony. In addition to not being binding on this Court, Plaintiff ignores that

two Circuit courts not only found Dr. Levine’s testimony to be reliable, but also concluded that

the “necessity and efficacy [of gender reassignment surgery] is hotly disputed within the medical

community.” Gibson v. Collier, 920 F.3d 212, 226 (5th Cir. 2019); see also Kosilek v. Spencer,

774 F.3d 63, 78 (1st Cir. 2014) (en banc) (“Dr. Levine further emphasized that ‘large gaps’ exist

in the medical community’s knowledge regarding the long-term effects of SRS and other GID

treatments in relation to its positive or negative correlation to suicidal ideation.”); Gibson, 920

F.3d at 223 (“We see no reason to depart from the First Circuit. To the contrary, we agree with

the First Circuit that the WPATH Standards of Care do not reflect medical consensus, and that in

fact there is no medical consensus at this time. WPATH itself acknowledges that ‘this field of

medicine is evolving.’ Standards of Care 41. The record in Kosilek documents more than enough

dissension within the medical community to conclude that it is not deliberately indifferent for

Texas prison officials to decline to authorize sex reassignment surgery.”). Plaintiff’s argument

ultimately boils down to “you shouldn’t believe Dr. Levine because he does not fully adhere to

WPATH’s view.” But even putting aside that this argument has been rejected by the First and

Fifth Circuit, and that other courts around the country have recognized there is still room for

debate over this issue 1, this is ultimately an argument as to weight, not admissibility.

       Finally, Plaintiff intends to call her own expert witness, who evaluated Plaintiff and

issued his report years ago. Plaintiff has provided no update as to Dr. Brown’s report or his



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 See Moore v. Palmer, No. 22-CV-539 JLS (LR), 2023 U.S. Dist. LEXIS 47589, at *9 (S.D. Cal.
Mar. 20, 2023) (“On the record presently before this Court, it appears that the medical propriety
of the WPATH SOC as a treatment regime is a matter subject to reasonable dispute…”)
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         Case 3:19-cv-00575-VAB Document 251 Filed 07/01/24 Page 3 of 4




conclusions in this case. This means either Plaintiff intends to offer testimony about Dr.

Brown’s conclusions based on facts that are stale or Plaintiff is engaged in the very

“sandbagging” it accused Defendant of engaging in. Either way, Defendant must be permitted to

respond to the testimony of Dr. Brown with expert testimony of his own. Defendant therefore

submits that Dr. Levine’s testimony must be permitted if and when it becomes necessary to

respond to Plaintiff’s case. At the very least, this Court should reserve ruling until such a ruling

becomes necessary. It would be premature at this stage to preclude Dr. Levine from testifying.

       This Court should therefore deny Plaintiff’s Motion.

                                                       DEFENDANT:
                                                       Angel Quiros

                                                       WILLIAM TONG
                                                       ATTORNEY GENERAL

                                               BY:




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                                         CERTIFICATION
       I hereby certify that on Jul 1, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


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Case 3:19-cv-00575-VAB Document 251 Filed 07/01/24 Page 4 of 4




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